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                       UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA
                             SAN JOSE DIVISION
                                  Honorable Edward J. Davila
                                    Courtroom 4 - 5th Floor

                   TITLE: USA v. ELIZABETH HOLMES
                    CASE NUMBER: 18-cr-00258-EJD-1
                                         Minute Order
Date: 12/20/2021
Time in Court: Not applicable
Courtroom Deputy Clerk: Adriana M. Kratzmann
Court Reporter: Irene Rodriguez
______________________________________________________________________________
APPEARANCES:
Plaintiff Attorney(s) present: Jeffrey Schenk, John Bostic, Robert Leach, Kelly Volkar
Also present: Agent: Adelaida Hernandez
Defendant Attorney(s) present: Kevin Downey, Lance Wade, Katherine (Katie) Trefz, Andrew
Lemens, John Cline, Richard Cleary, Amy Saharia
Also present: Elizabeth Holmes (Out-custody) Not present
______________________________________________________________________________
PROCEEDINGS: Jury Trial (Day 47)

Further Jury Trial held. Jury deliberating. Further Jury Trial (jury deliberations continue)
scheduled for Tuesday, December 21, 2021 at 8:30 a.m.

No in-court proceeding held.




                                                                                          Adriana M. Kratzmann
                                                                                              Courtroom Deputy
                                                                                               Original: E-Filed
